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1    GIBSON, DUNN & CRUTCHER LLP
     HARRIS M. MUFSON (pro hac vice)
2     hmufson@gibsondunn.com
     200 Park Avenue
3    New York, NY 10166-0193
     Telephone: 212.351.4000
4    Facsimile: 212.351.4035
5    JESSE A. CRIPPS, SBN 222285
       jcripps@gibsondunn.com
6    MEGAN M. LAWSON, SBN 294397
       mlawson@gibsondunn.com
7    COURTNEY M. JOHNSON, SBN 324331
       cjohnson2@gibsondunn.com
8    333 South Grand Avenue
     Los Angeles, CA 90071-3197
9    Telephone: 213.229.7000
     Facsimile: 213.229.7520
10

11   Attorneys for Defendant HARRY WINSTON,
     INC.
12

13                           UNITED STATES DISTRICT COURT
14                         CENTRAL DISTRICT OF CALIFORNIA
15   ADAM FOX,                                    CASE NO. 8:22-cv-00381-DOC (ADS)
16                      Plaintiff,                DEFENDANT HARRY WINSTON,
                                                  INC.’S ANSWER TO PLAINTIFF’S
17         v.                                     COMPLAINT
18   HARRY WINSTON, INC.; and DOES                Action Filed: February 4, 2022
     1 to 100, inclusive,                         Removed: March 10, 2022
19                                                Trial Date: None Set
                        Defendants.
20

21         Defendant Harry Winston, Inc. (“HWI”), by and through its undersigned counsel,
22   hereby answers Plaintiff Adam Fox’s Complaint, Dkt. 1-1, as follows:
23         1.     HWI is without knowledge or information sufficient to form a belief as to
24   the truth of the allegations set forth in Paragraph 1, and, on that basis, denies all
25   allegations set forth in Paragraph 1 of the Complaint.
26         2.     HWI admits that it is authorized to operate by the State of the California
27   and the United States government, and is authorized to do business in the County of Los
28   Angeles. HWI further admits that it operates a store located at 310 N. Rodeo Drive in

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1    the City of Beverly Hills. Except as expressly admitted, HWI denies all allegations set
2    forth in Paragraph 2 of the Complaint.
3          3.     HWI is without knowledge or information sufficient to form a belief as to
4    the truth of the allegations set forth in Paragraph 3, and, on that basis, denies all
5    allegations set forth in Paragraph 3 of the Complaint.
6          4.     To the extent that Paragraph 4 states Plaintiff’s characterization of his case
7    and legal conclusions, HWI is not required to respond. To the extent a response is
8    required, HWI denies the allegations set forth in Paragraph 4 of the Complaint.
9          5.     To the extent that Paragraph 5 states Plaintiff’s characterization of his case
10   and legal conclusions, HWI is not required to respond. To the extent a response is
11   required, HWI denies the allegations set forth in Paragraph 5 of the Complaint.
12         6.     HWI admits Paragraph 6.
13         7.     HWI admits that Plaintiff was not formally disciplined during his
14   employment with HWI. Except as expressly admitted, HWI denies all allegations set
15   forth in Paragraph 7 of the Complaint.
16         8.     To the extent that Paragraph 8 states Plaintiff’s characterization of his case
17   and legal conclusions, HWI is not required to respond. To the extent a response is
18   required, HWI denies the allegations set forth in Paragraph 8 of the Complaint.
19         9(a). HWI admits that on or about October 15, 2021, Michael Moser was Mr.
20   Fox’s immediate supervisor and Vice President of U.S. Retail. HWI further admits that
21   Audrey McKenzie was the manager of the South Coast Plaza salon during this time and
22   Sophie Zhao was a sales associate at that same salon. HWI further admits that Fadi
23   Ghalayini was the Global Vice President, Sales during this time. HWI further admits
24   that Jianhao Li was a client who discussed the purchase of a diamond ring at the South
25   Coast Plaza salon. HWI lacks sufficient information to admit or deny the remaining
26   allegations in Paragraph 9(a) and therefore denies them.
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1            9(b). HWI admits that CiCi Zhang was a sales associate at HWI’s Las Vegas
2    salon at this time. HWI lacks sufficient information to admit or deny the remaining
3    allegations in Paragraph 9(b) and therefore denies them.
4            9(c). HWI admits that, during this time, Dan Mastacciuola was the Vice
5    President, Human Resources for HWI. HWI lacks sufficient information to admit or
6    deny the remaining allegations in Paragraph 9(c) and therefore denies them.
7            9(d). HWI admits that a discount of 7.36% was finalized at the South Coast Plaza
8    salon. HWI lacks sufficient information to admit or deny the remaining allegations set
9    forth in Paragraph 9(d) of the Complaint and therefore denies them.
10           9(e). To the extent that Paragraph 9(e) states Plaintiff’s characterization of his
11   case and legal conclusions, HWI is not required to respond. To the extent a response is
12   required, HWI admits the Client made a partial payment at the South Coast Plaza salon
13   on or about October 16, 2021. HWI lacks sufficient information to admit or deny the
14   remaining allegations set forth in Paragraph 9(e) of the Complaint and therefore denies
15   them.
16           9(f).     HWI admits that Lily Zhang was the manager of the Las Vegas salon
17   during this time. HWI lacks sufficient information to admit or deny the remaining
18   allegations set forth in Paragraph 9(f) of the Complaint and therefore denies them.
19           9(g). HWI lacks sufficient information to admit or deny the allegations set forth
20   in Paragraph 9(g) of the Complaint and therefore denies them.
21           9(h). To the extent that Paragraph 9(h) states Plaintiff’s characterization of his
22   case and legal conclusions, Defendant is not required to respond. To the extent a
23   response is required, HWI admits Paragraph 9(h).
24           9(i). HWI admits that the Client submitted an Assistance Request on HWI’s
25   website on or around November 4, 2021. The request speaks for itself and, except as
26   expressly admitted, HWI denies the remaining allegations set forth in Paragraph 9(i) of
27   the Complaint.
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1          9(j). HWI admits that Mr. Moser was on an administrative leave of absence
2    during November 2021. HWI further admits that Mr. Mastacciuola telephoned Plaintiff
3    on or about November 4, 2021 and that Plaintiff mentioned the work environment was
4    tense. Except as expressly admitted, HWI denies all allegations set forth in Paragraph
5    9(j) of the Complaint.
6          9(k). HWI lacks sufficient information to admit or deny the allegations set forth
7    in Paragraph 9(k) of the Complaint and therefore denies them.
8          9(l). HWI lacks sufficient information to admit or deny the allegations set forth
9    in Paragraph 9(l) of the Complaint and therefore denies them.
10         9(m). HWI admits that Robert Scott was the CFO at this time. HWI lacks
11   sufficient information to admit or deny the remaining allegations set forth in Paragraph
12   9(m) of the Complaint and therefore denies them.
13         9(n). HWI lacks sufficient information to admit or deny the allegations set forth
14   in Paragraph 9(n) of the Complaint and therefore denies them.
15         9(o). HWI admits that Mr. Moser’s employment was terminated on or around
16   November 11, 2021. HWI also admits that Mr. Mastacciuola telephoned Plaintiff and
17   told him that he would be reporting to Mr. Ghalayini. Except as expressly admitted,
18   HWI denies all allegations set forth in Paragraph 9(o) of the Complaint.
19         9(p). To the extent that Paragraph 9(p) states Plaintiff’s characterization of his
20   case and legal conclusions, HWI is not required to respond. To the extent a response is
21   required, HWI lacks sufficient information to admit or deny the allegations set forth in
22   Paragraph 9(p) of the Complaint and therefore denies them.
23         10(a). HWI admits that Plaintiff was terminated on or around November 15, 2021
24   and that he received a call from Mr. Mastacciuola and Ms. Cheung that Plaintiff’s
25   position was being eliminated. Except as expressly admitted, HWI denies all allegations
26   set forth in Paragraph 10(a) of the Complaint.
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1          10(b). To the extent that Paragraph 10(b) states Plaintiff’s characterization of his
2    case and legal conclusions, HWI is not required to respond. To the extent a response is
3    required, HWI denies the allegations set forth in Paragraph 10(b) of the Complaint.
4          11.    To the extent that Paragraph 11 states Plaintiff’s characterization of his case
5    and legal conclusions, HWI is not required to respond. To the extent a response is
6    required, HWI denies the allegations set forth in Paragraph 11 of the Complaint.
7          12.    To the extent that Paragraph 12 states Plaintiff’s characterization of his case
8    and legal conclusions, HWI is not required to respond. To the extent a response is
9    required, HWI denies the allegations set forth in Paragraph 12 of the Complaint.
10         13.    To the extent that Paragraph 13 states Plaintiff’s characterization of his case
11   and legal conclusions, HWI is not required to respond. To the extent a response is
12   required, the statute speaks for itself and HWI denies all remaining allegations set forth
13   in Paragraph 13 of the Complaint.
14         14.    To the extent that Paragraph 14 states Plaintiff’s characterization of his case
15   and legal conclusions, HWI is not required to respond. To the extent a response is
16   required, HWI denies all allegations set forth in Paragraph 14 of the Complaint.
17         15.    Paragraph 15 is Plaintiff’s incorporation of all preceding allegations in the
18   foregoing paragraphs. HWI incorporates all of its answers to the allegations set forth in
19   the foregoing paragraphs, and each of the subparts thereto.
20         16.    To the extent that Paragraph 16 states Plaintiff’s characterization of his case
21   and legal conclusions, HWI is not required to respond. To the extent a response is
22   required, the statute speaks for itself and HWI denies all allegations set forth in
23   Paragraph 16 of the Complaint.
24         17.    To the extent that Paragraph 17 states Plaintiff’s characterization of his case
25   and legal conclusions, HWI is not required to respond. To the extent a response is
26   required, HWI lacks knowledge as to what Plaintiff believed.
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1          18.    To the extent that Paragraph 18 states Plaintiff’s characterization of his case
2    and legal conclusions, HWI is not required to respond. To the extent a response is
3    required, HWI denies the allegations set forth in Paragraph 18 of the Complaint.
4          19.    To the extent that Paragraph 19 states Plaintiff’s characterization of his case
5    and legal conclusions, HWI is not required to respond. To the extent a response is
6    required, HWI denies the allegations set forth in Paragraph 19 of the Complaint.
7          20.    To the extent that Paragraph 20 states Plaintiff’s characterization of his case
8    and legal conclusions, HWI is not required to respond. To the extent a response is
9    required, HWI denies the allegations set forth in Paragraph 20 of the Complaint.
10         21.    To the extent that Paragraph 21 states Plaintiff’s characterization of his case
11   and legal conclusions, HWI is not required to respond. To the extent a response is
12   required, HWI denies the allegations set forth in Paragraph 21 of the Complaint.
13         22.    To the extent that Paragraph 22 states Plaintiff’s characterization of his case
14   and legal conclusions, HWI is not required to respond. To the extent a response is
15   required, the statute speaks for itself and HWI denies all remaining allegations set forth
16   in Paragraph 22 of the Complaint.
17         23.    To the extent that Paragraph 23 states Plaintiff’s characterization of his case
18   and legal conclusions, HWI is not required to respond. To the extent a response is
19   required, HWI denies the allegations set forth in Paragraph 23 of the Complaint.
20         24.    Paragraph 24 is Plaintiff’s incorporation of all preceding allegations in the
21   foregoing paragraphs. HWI incorporates all of its answers to the allegations set forth in
22   the foregoing paragraphs, and each of the subparts thereto.
23         25.    To the extent that Paragraph 25 states Plaintiff’s characterization of his case
24   and legal conclusions, HWI is not required to respond. To the extent a response is
25   required, the statute speaks for itself and HWI denies all remaining allegations set forth
26   in Paragraph 25 of the Complaint.
27         26.    To the extent that Paragraph 26 states Plaintiff’s characterization of his case
28   and legal conclusions, HWI is not required to respond. To the extent a response is
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1    required, HWI denies that Plaintiff’s termination was wrongful and lacks sufficient
2    information to admit or deny the remaining allegations, and therefore denies them.
3          27.    To the extent that Paragraph 27 states Plaintiff’s characterization of his case
4    and legal conclusions, HWI is not required to respond. To the extent a response is
5    required, HWI denies the allegations set forth in Paragraph 27 of the Complaint.
6          28.    To the extent that Paragraph 28 states Plaintiff’s characterization of his case
7    and legal conclusions, HWI is not required to respond. To the extent a response is
8    required, HWI denies the allegations set forth in Paragraph 28 of the Complaint.
9          29.    To the extent that Paragraph 29 states Plaintiff’s characterization of his case
10   and legal conclusions, HWI is not required to respond. To the extent a response is
11   required, the statutes speak for themselves and HWI lacks sufficient information to
12   admit or deny the remaining allegations, and therefore denies them.
13         30.    Paragraph 30 is Plaintiff’s incorporation of all preceding allegations in the
14   foregoing paragraphs. HWI incorporates all of its answers to the allegations set forth in
15   the foregoing paragraphs, and each of the subparts thereto.
16         31.    To the extent that Paragraph 31 states Plaintiff’s characterization of his case
17   and legal conclusions, HWI is not required to respond. To the extent a response is
18   required, HWI denies all allegations set forth in Paragraph 31 of the Complaint.
19         32.    To the extent that Paragraph 32 states Plaintiff’s characterization of his case
20   and legal conclusions, HWI is not required to respond. To the extent a response is
21   required, HWI denies all allegations set forth in Paragraph 32 of the Complaint.
22         33.    Paragraph 33 is Plaintiff’s incorporation of all preceding allegations in the
23   foregoing paragraphs. HWI incorporates all of its answers to the allegations set forth in
24   the foregoing paragraphs, and each of the subparts thereto.
25         34.    To the extent that Paragraph 34 states Plaintiff’s characterization of his case
26   and legal conclusions, HWI is not required to respond. To the extent a response is
27   required, HWI denies all allegations set forth in Paragraph 34 of the Complaint.
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1          35.    To the extent that Paragraph 35 states Plaintiff’s characterization of his case
2    and legal conclusions, HWI is not required to respond. To the extent a response is
3    required, HWI denies all allegations set forth in Paragraph 35 of the Complaint.
4          36.    To the extent that Paragraph 36 states Plaintiff’s characterization of his case
5    and legal conclusions, HWI is not required to respond. To the extent a response is
6    required, HWI lacks sufficient information to admit or deny the remaining allegations,
7    and therefore denies them.
8          37.    Paragraph 37 is Plaintiff’s incorporation of all preceding allegations in the
9    foregoing paragraphs. HWI incorporates all of its answers to the allegations set forth in
10   the foregoing paragraphs, and each of the subparts thereto.
11         38.    To the extent that Paragraph 38 states Plaintiff’s characterization of his case
12   and legal conclusions, HWI is not required to respond. To the extent a response is
13   required, HWI denies all allegations set forth in Paragraph 38 of the Complaint.
14         39.    To the extent that Paragraph 39 states Plaintiff’s characterization of his case
15   and legal conclusions, HWI is not required to respond. To the extent a response is
16   required, HWI denies all allegations set forth in Paragraph 39 of the Complaint.
17         40.    To the extent that Paragraph 40 states Plaintiff’s characterization of his case
18   and legal conclusions, HWI is not required to respond. To the extent a response is
19   required, HWI denies all allegations set forth in Paragraph 40 of the Complaint.
20         41.    To the extent that Paragraph 41 states Plaintiff’s characterization of his case
21   and legal conclusions, HWI is not required to respond. To the extent a response is
22   required, the statute speaks for itself and HWI denies the allegation set forth in Paragraph
23   41 of the Complaint.
24         42.    Paragraph 42 is Plaintiff’s incorporation of all preceding allegations in the
25   foregoing paragraphs. HWI incorporates all of its answers to the allegations set forth in
26   the foregoing paragraphs, and each of the subparts thereto.
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1            43.    To the extent that Paragraph 43 states Plaintiff’s characterization of his case
2    and legal conclusions, HWI is not required to respond. To the extent a response is
3    required, HWI denies all allegations set forth in Paragraph 43 of the Complaint.
4            44.    To the extent that Paragraph 44 states Plaintiff’s characterization of his case
5    and legal conclusions, HWI is not required to respond. To the extent a response is
6    required, HWI denies all allegations set forth in Paragraph 44 of the Complaint.
7            45.    To the extent that Paragraph 45 states Plaintiff’s characterization of his case
8    and legal conclusions, HWI is not required to respond. To the extent a response is
9    required, HWI denies that its conduct was extreme and outrageous and lacks sufficient
10   information to admit or deny the remaining allegations, and therefore denies them.
11           46.    To the extent that Paragraph 46 states Plaintiff’s characterization of his case
12   and legal conclusions, HWI is not required to respond. To the extent a response is
13   required, HWI denies that its conduct was extreme and outrageous and HWI lacks
14   sufficient information to admit or deny the remaining allegations, and therefore denies
15   them.
16           47.    To the extent that Paragraph 47 states Plaintiff’s characterization of his case
17   and legal conclusions, HWI is not required to respond. To the extent a response is
18   required, HWI denies all allegations set forth in Paragraph 47 of the Complaint.
19                                    PRAYER FOR RELIEF
20           In answer to the Prayer for Relief, HWI denies that Plaintiff is entitled to any relief
21   described or to any remedy whatsoever against HWI. All allegations of the Complaint
22   not heretofore admitted or denied are hereby denied as though specifically denied herein.
23                                 DEMAND FOR JURY TRIAL
24           In answer to the Demand for Jury Trial, HWI admits that Plaintiff requests a jury
25   trial in this action.
26                           SEPARATE AND ADDITIONAL DEFENSES
27           HWI has not completed its investigation of the facts of this case, has not
28   completed discovery in this matter, and has not completed its preparation for trial. The
                                                    9
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1    defenses asserted herein are based on HWI’s knowledge, information, and belief at this
2    time. HWI specifically reserves the right to assert additional affirmative or other
3    defenses and/or modify, amend, or supplement any defense contained herein at any time.
4    Without admitting any of the facts alleged in the Complaint, HWI asserts and alleges the
5    following separate and additional defenses. By setting forth these defenses, HWI does
6    not assume the burden of proving any fact, issue, or element of a cause of action where
7    such burden properly belongs to Plaintiff.
8                    FIRST SEPARATE AND ADDITIONAL DEFENSE
9                                    (Statute of Limitations)
10         1.     As a separate and distinct defense, HWI alleges that the Complaint is barred
11   in whole or in part by the applicable statutes of limitations including, but not limited to,
12   Sections 1102.5 of the California Labor Code.
13                 SECOND SEPARATE AND ADDITIONAL DEFENSE
14                 (Laches, Estoppel, Waiver, Failure to Mitigate Damages)
15         2.     As a separate and distinct defense, HWI alleges that the Complaint is
16   barred, in whole or in part, by the doctrine(s) of laches, estoppel and/or waiver, and/or
17   to the extent that Plaintiff failed to mitigate damages, and/or to the extent that damages,
18   if any, resulted from the acts and/or omissions of Plaintiff.
19                  THIRD SEPARATE AND ADDITIONAL DEFENSE
20                                   (Compliance with Law)
21         3.     As a separate and distinct defense, HWI alleges that any recovery on
22   Plaintiff’s Complaint, or any cause of action contained therein, may be barred by HWI’s
23   compliance or substantial compliance with all applicable laws underlying Plaintiff’s
24   claims.
25                 FOURTH SEPARATE AND ADDITIONAL DEFENSE
26                      (Reasonable Interpretation of Applicable Law)
27         4.     As a separate and distinct defense, HWI alleges that it acted in good faith
28   reliance upon the reasonable interpretation of applicable law.
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1                    FIFTH SEPARATE AND ADDITIONAL DEFENSE
2                                 (Acts or Omissions of Plaintiff)
3          5.     As a separate and distinct defense, HWI alleges that the Complaint, and
4    each purported cause of action contained therein, is barred in whole or in part to the
5    extent that damages, if any, resulted from the acts and/or omissions of Plaintiff.
6                    SIXTH SEPARATE AND ADDITIONAL DEFENSE
7                              (Acts or Omissions of Third Parties)
8          6.     As a separate and distinct defense, HWI alleges that all or part of the
9    damages alleged in the Complaint, if they occurred, were caused by the acts and/or
10   omissions of other persons or entities for whose conduct HWI is not legally responsible.
11   Plaintiff’s alleged damages, if any, are therefore not recoverable from HWI. In the
12   alternative, any damages which Plaintiff may be entitled to recover against HWI, if any,
13   must be reduced to the extent that such damages are attributable to the intervening acts
14   and/or omissions of persons or entities other than HWI.
15                 SEVENTH SEPARATE AND ADDITIONAL DEFENSE
16                                   (Failure to State a Claim)
17         7.     As a separate and distinct defense, HWI alleges that the Complaint, and
18   each and every purported cause of action in the Complaint, fails to state facts sufficient
19   to constitute a cause of action against HWI.
20                  EIGHTH SEPARATE AND ADDITIONAL DEFENSE
21                                      (Unjust Enrichment)
22         8.     As a separate and distinct defense, HWI alleges that Plaintiff is barred from
23   relief, in whole or in part, to the extent it results in an unjust enrichment to Plaintiff.
24                   NINTH SEPARATE AND ADDITIONAL DEFENSE
25                                             (Release)
26         9.     As a separate and distinct defense, HWI alleges that Plaintiff is barred from
27   relief, in whole or in part, to the extent his claims are precluded under the doctrine of
28   release.
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1                   TENTH SEPARATE AND ADDITIONAL DEFENSE
2                           (Res Judicata and/or Collateral Estoppel)
3          10.    As a separate and distinct defense, HWI alleges that Plaintiff is barred from
4    relief, in whole or in part, to the extent his claims are precluded under the doctrines of
5    res judicata and/or collateral estoppel.
6                 ELEVENTH SEPARATE AND ADDITIONAL DEFENSE
7                                           (Judicial Estoppel)
8          11.    As a separate and distinct defense, HWI alleges that Plaintiff is barred from
9    relief, in whole or in part, to the extent his claims are precluded under the doctrine of
10   judicial estoppel.
11                TWELFTH SEPARATE AND ADDITIONAL DEFENSE
12                                            (No Standing)
13         12.    As a separate and distinct defense, HWI alleges that Plaintiff has no
14   standing to bring some or all of the claims, which are therefore barred.
15               THIRTEENTH SEPARATE AND ADDITIONAL DEFENSE
16                                          (Unclean Hands)
17         13.    As a separate and distinct defense, HWI alleges that Plaintiff is barred from
18   relief, in whole or in part, to the extent his claims are precluded under the doctrine of
19   unclean hands.
20               FOURTEENTH SEPARATE AND ADDITIONAL DEFENSE
21                                   (Lack of Willful Conduct)
22         14.    As a separate and distinct defense, HWI alleges that Plaintiff cannot
23   establish that HWI engaged in willful or comparable conduct within the meaning of any
24   applicable state or federal statute.
25               FIFTEENTH SEPARATE AND ADDITIONAL DEFENSE
26                                (Non-Discriminatory Reasons)
27         15.    As a separate and distinct defense, HWI alleges that there existed
28   legitimate, non-retaliatory reasons for the alleged acts of which Plaintiff complains and
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1    therefore Plaintiff’s termination and any other actions related to Plaintiff’s employment
2    did not violate a fundamental public policy of the state of California.
3                 SIXTEENTH SEPARATE AND ADDITIONAL DEFENSE
4                     (Non-Discriminatory Reasons; Business Judgment)
5          16.     As a separate and distinct defense, HWI alleges that Plaintiff’s claims for
6    retaliation are barred in that at no time did HWI make any employment decisions
7    affecting Plaintiff which were unlawful or discriminatory, or unfair, fraudulent, or likely
8    to mislead, or based on Plaintiff’s alleged retaliation for disclosing violations or
9    noncompliance with local and/or state law, or regulation, or which were motivated by
10   an intent to retaliate on any basis, nor did any conduct of HWI result from any
11   employment practice having a retaliatory impact. HWI’s actions were lawful and carried
12   out in good faith, based on business reasons unrelated to Plaintiff’s alleged disclosure of
13   violations or noncompliance with local and/or state law, or regulation.
14               SEVENTEENTH SEPARATE AND ADDITIONAL DEFENSE
15                                    (Respondeat Superior)
16         17.     As a separate and distinct defense, HWI alleges that Plaintiff’s claims are
17   barred to the extent any alleged wrongful acts of HWI’s employee(s), including, but not
18   limited to, any alleged violation of law or unlawful retaliation against Plaintiff, were not
19   authorized by HWI, were inconsistent with HWI’s policies and practices, were not in
20   furtherance of HWI’s business, and were contrary to HWI’s good faith efforts to comply
21   with all applicable laws. HWI alleges that any actions inconsistent with the Labor Code
22   as alleged in the Complaint were committed by individuals acting outside the course and
23   scope of employment, and thus HWI may not be held liable for such conduct pursuant
24   to the doctrine of respondeat superior.
25               EIGHTEENTH SEPARATE AND ADDITIONAL DEFENSE
26                                      (Punitive Damages)
27         18.     As a separate and distinct defense, HWI alleges that Plaintiff is not entitled
28   to recover punitive or exemplary damages from HWI on the grounds that any award of
                                                  13
                  DEFENDANT HARRY WINSTON, INC.’S ANSWER TO PLAINTIFF’S COMPLAINT
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1    punitive or exemplary damages would violate HWI’s constitutional rights under the Due
2    Process Clauses of the Fifth and Fourteenth Amendments of the United States
3    Constitution.
4                NINETEENTH SEPARATE AND ADDITIONAL DEFENSE
5                                        (Attorneys’ Fees)
6          19.    As a separate and distinct defense, HWI alleges that Plaintiffs’ request for
7    attorneys’ fees in this matter is barred because it lacks any basis in law or contract.
8                                    PRAYER FOR RELIEF
9          WHEREFORE, HWI requests that judgment be entered as follows:
10         1.     That Plaintiff takes nothing by way of his Complaint;
11         2.     That the Complaint and all purported claims alleged therein herein be
12   dismissed with prejudice;
13         3.     That judgment be entered in favor of HWI and against Plaintiff on all claims
14   set forth in the Complaint;
15         4.     That HWI be awarded the costs of suit;
16         5.     That HWI be awarded its attorneys’ fees incurred in defense of this action;
17   and
18         6.     That the Court awards HWI such other and further relief as the Court may
19   deem just and proper.
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1    Dated: April 15, 2022               GIBSON, DUNN & CRUTCHER LLP
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3                                        By: /s/ Megan M. Lawson
                                                      Megan M. Lawson
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5                                             Attorneys for Defendant
                                              HARRY WINSTON, INC.
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2                                   PROOF OF SERVICE
3          I, Courtney M. Johnson, declare as follows:
4          I am employed in the County of Los Angeles, State of California, I am over the
     age of eighteen years and am not a party to this action; my business address is 333
5    South Grand Avenue, Los Angeles, CA 90071-3197, in said County and State. On
     April 15, 2022, I served the following document(s):
6
           DEFENDANT HARRY WINSTON, INC.’S ANSWER TO
7          PLAINTIFF’S COMPLAINT
8

9    on the parties stated below, by the following means of service:
10          Jake D. Finkel                                   Attorneys for Plaintiff
            Avraham Kalaf
11          Eugene Feldman
            LAW OFFICES OF JAKE D. FINKEL, APC
12          3470 Wilshire Blvd., Suite 830
            Los Angeles, CA 90010
13          Tel.: 213.787.7411
            Fax: 323.916.0521
14
                BY CM/ECF NOTICE OF ELECTRONIC FILING: I electronically
15               filed the document(s) with the Clerk of the Court by using the CM/ECF
                 system. Participants in the case who are registered CM/ECF users will be
16               served by the CM/ECF system.
17              (FEDERAL) I declare under penalty of perjury that the foregoing is
                           true and correct.
18

19
           Executed on April 15, 2022.
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21                                                  /s/ Courtney M. Johnson
                                                        Courtney M. Johnson
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                DEFENDANT HARRY WINSTON, INC.’S ANSWER TO PLAINTIFF’S COMPLAINT
                                CASE NO. 8:22-CV-00381-DOC (ADS)
